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038605 06556 0125

Loan No: 7305-0558 Data ID: 956

Borrower; MIRIELLE EDWARDS

Return to: EXPANDED MORTGAGE CREDIT
ATTENTION: POST CLOSING
2350 NORTH BELT EAST STE 850
HOUSTON, TX 77032

[Space Above This Line For Recording Data) ————___.____—

OPEN-END MORTGAGE DEED

MIN: 1000$640073050S586

 

DEFINITIONS
Words used in multiple sections of this document are defined below and other words are defined in

Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document
are also provided in Section 16.

(A) “Security Instrument” means this document, which is dated October 27, 2005, together with all
Riders to this document.

x / MIREILLE EDWARDS /
(B) “Borrower” is mi ee EDWARDS/, A MARRIED WOMAN — . Borrower is the mortgagor
under this Security Instrument.

(C) “MERS” is Mortgage Electronic Registration Systems, Inc. MERS is a scparate corporation that
is acting solely as a nominee for Lender and Lender's successors and assigns. MERS Is the mortgagee
under this Security Instrument. MERS is organized and existing under the laws of Delaware, and has
an address and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

(D) “Lender” is HOME LOAN CORPORATION DBA EXPANDED MORTGAGE CREDIT. Lender
is A CORPORATION organized and existing under the laws of the State of CONNECTICUT.
Lender's address is 2350 NORTH BELT EAST STE 850 HOUSTON, TX 77032.

(E) “Note” means the promissory note signed by Borrower and dated October 27, 2005. The Note
States that Borrower owes Lender TWO HUNDRED TWENTY-EIGHT THOUSAND EIGHT HUNDRED
and NO/100-----Dollars (U.S. § 228,800.00) plus interest. Borrower has promised to pay this debt in
regular Periodic Payments and to pay the debt in full not later than November 1, 2035.

(F) “Property” means the property that is described below under the heading “Transfer of Rights in
the Property.”

(G) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late
charges due under the Note, and all sums due under this Security Instrument, plus interest.

(H) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The
following Riders are to be executed by Borrower [check box as applicable):

Adjustable Rate Rider O Condominium Rider () Second Home Rider
0) Balloon Rider () Planned Unit Development Rider
() 1-4 Family Rider C) Biweekly Payment Rider

C) Other(s) [specify]

(1) “Applicable Law means all controlling applicable federal, state and local Statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable
final, non-appealable judicial opinions.

(J) “Community Assoclation Dues, Fees, and Assessments” means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

CONNECTICUT . single Family - Fannie Mao/Freddie Mac UNIFORM INSTRUMENT
Modified by Middleberg, Riddle & Glanna Form 3007 1/01 (Page 1 of 11 Pages)
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Loan No: 730S-0SS8 Data ID; 956

BY SIGNING BELOW, Borrower accepts and ayrees to the terms and covenants contained In
this Security Instrument and in any Rider executed by Borrower and recorded with tt.

Signed, scaled and delivered in the presence of:
*)

Bost KBs z Paro

Noa © 4K TSR. Witness “Pec SNe ‘Witness

 
 

aM nly @

Ratios q ieee (Seal)
MIRIELLE EDWAR

  

[Space Below This Line For Acknowledg )

 

State of CONNECTICUT §
County of FAIRFIELD §

The forcgoing instrument was acknowledged before me on this cod PRA day of Owsdoxl FI
20 »- by
MIRIELLE EDWARDS
Ce
Notary Public

Frank J. MacPhail
Commissioner Of The Supelldea heme)

My commission expires:

CONNECTICUT .- Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Modified by Middleberg, Alddie & Glanna Form 3007 1/01 (Page 11 of 11 Pages)
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06656 0138

Loan No: 7305-0558 Data ID: 956

The Note Holder will then determine the amount of the monthly payment that would be
sufficient to repay the unpaid principal that | am expected to owe at the Change Date in full on the
Maturity Date at my new interest rate in substantially equal payments, The result of this calculation
will be the new amount of my monthly payment.

(D)Limits on Interest Rate Changes

The interest rate | am required to pay at the first Change Date will not be greater than
9.9000 % or less than 6.9000 %. Thereafter, my interest rate will never be increased or decreased on
any single Change Date by more than ONE and ONE ene points (1.50 %) from the rate
of interest ] have been paying for the preceding 6 months. My interest rate will never be greatcr than
13.9000 9 or less than 6.9000 %.

(E) Effective Date of Changes
My new interest rate will become effective on cach Change Date. | will pay thc amount of my

new monthly payment beginning on the first monthly payment date after the Change Date until the
amount of my monthly payment changes again.

(F) Notice of Changes
The Note Holder will deliver or mail to me a notice of any changes in my intcrest rate and the

amount of my monthly payment before the effective date of any change. The notice will include

information required by law to be given to me and also the title and telephone number of a person
who will answer any question I may have regarding the notice.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Adjustable Rate Rider. oy

Nnollo,

“MIRIELLE EDWARDS —Borcower

  

MULTISTATE ADJUSTABLE RATE RIDERUBOAR S-MONTH IND
oe, ae on EX (AS PUBLISHED IN THE WALL STREET JOURNAL)
Modified by Middleberg, Riddle & Glanna Form 3138 1/01

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